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                                 October 19, 2020

BY ECFAND EMAIL
The Honorable P. Kevin Castel
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007


            Re:          United States v. Peter Bright,
                         19 Cr. 521 (PKC)

Dear Judge Castel:

       We write, with the consent of the Government, to request a two day extension
of the deadline for filing the sentencing submission on behalf of Mr. Bright and,
likewise, an extension for the Government.

      Sentencing is currently scheduled for November 4, 2020 and defense
submissions are due on October 21, 2020. I respectfully ask the Court to extend
that date to October 23, 2020 and the Government’s filing deadline to October 30,
2020.


                                                    Respectfully submitted,

                                                    /s/ Amy Gallicchio
                                                    _________________________
                                                    Amy Gallicchio
                                                    Zawadi Baharanyi
                                                    Assistant Federal Defenders
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cc:   AUSA Alexander Li
